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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                          :

         v.                                            : Crim. No. 21-CR-291-1 (ABJ)

THOMAS F. SIBICK                                       :

                         DEFENDANT THOMAS SIBICK’S MOTION
                     FOR MODIFICATION OF CONDITIONS OF RELEASE

         Defendant Thomas F. Sibick, through undersigned counsel, Stephen F. Brennwald,

submits the following Motion for Modification of Conditions of Release, and in support thereof,

states as follows:

         On October 26, 2021, this Court modified defendant Sibick’s bond, granting him release

on his personal recognizance with the stipulation that he remain in 24-hour a day home

confinement. The Court allowed him to leave the home for medical and court appointments, as

well as for other activities specifically approved by the Court. ECF No. 89.

         Since the date of his release, nearly three months ago, Mr. Sibick’s compliance has been

exemplary.

         Mr. Sibick now seeks permission to search for, and gain, employment pending the

outcome of his case. The Court’s October 26, 2021, Order does not prohibit him from accessing

employment websites, and he intends to attempt to secure employment as soon as practicable.

         In the meantime, he submits the following two requests to the Court:

         a) That he be permitted to accompany and assist an individual1 who is renovating and

               working on two separate properties. The expected work hours would be from 10:30


1
 Defendant is not including this individual’s name, or the work locations, in this filing, but counsel has personally
spoken with this individual to confirm the existence of this work need, and the accuracy of the hours and days Mr.
Sibick has indicated he would work. This work may, or may not, be remunerated, but it will allow Mr. Sibick to
participate in a worthwhile and mentally-healthy activity rather than stay at home all day.
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             a.m. to 4 p.m., five days a week (Monday through Friday), so he asks that he be

             allowed to be released on a curfew on those days between 9:30 and 5 p.m. This

             individual would be with Mr. Sibick at all times throughout the work days.

        b) He further asks that this Court direct and/or allow the supervising pretrial agent in the

             Western District of New York to grant Mr. Sibick permission,2 upon the submission

             of satisfactory proof (either oral or written), to attend employment interviews and, if

             hired, to engage in full-time employment as directed by the putative employer.

             Defendant would also request that the Court direct the supervising pretrial agent to

             approve of any reasonable employment-related request (whether an interview or

             actual employment) and refrain from placing unnecessary hurdles in Mr. Sibick’s

             path in this regard.3

        The government opposes these requests.

        WHEREFORE, in light of the foregoing, defendant asks this Court to grant the foregoing

relief, and for any other relief this Court may deem just and proper.

                                                     Respectfully submitted,

                                                              /s/

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2
  This proposal is suggested in order to obviate the need for this very busy Court to micro-manage Mr. Sibick’s
employment search and actual employment. Obviously, if the Court concludes that there is a more appropriate way
to proceed, the defendant will follow any resulting order.
3
  On Monday, January 24, 2022, a new agent began supervising Mr. Sibick, and neither counsel nor Mr. Sibick
knows the agent’s supervisory customs and practices (whether restrictive and overly technical, or more “practical”
and progress-oriented).
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing was sent by ECF, this 26th day of
January, 2022 to the U.S. Attorney’s Office, 555 4th Street, N.W., Washington, D.C. 20530, and
to all counsel of record.

                                                   /s/

                                           Stephen F. Brennwald
